974 F.2d 1330
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ernest DAVIS, Petitioner-Appellant,v.James N. ROLLINS, Warden;  Attorney General of the State ofMaryland, Respondents-Appellees.
    No. 92-6707.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 13, 1992Decided:  August 31, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  J. Frederick Motz, District Judge.  (CA-90-2713-JFM)
      Ernest Davis, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Mary Ann Rapp Ince, Office of the Attorney General of Maryland, Baltimore, Maryland, for Appellees.
      D.Md.
      Dismissed.
      Before MURNAGHAN, HAMILTON, and WILLIAMS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Ernest Davis noted this appeal outside the thirty-day appeal period established by Fed.  R. App.  P. 4(a)(1), and failed to move for an extension of the appeal period within the additional thirty-day period provided by Fed.  R. App.  P. 4(a)(5).  The time periods established by Fed.  R. App.  P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting  United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    